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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

JAMES PARKER,                                    *

                     Plaintiff,                  *
v.                                                   Case No. 5:18-CV-00440-TES
                                                 *
WALMART STORES EAST LP d/b/a
WALMART,                                         *

                     Defendant.                  *

                                         JUDGMENT

      Pursuant to this Court’s Order dated February 1, 2019, and for the reasons stated therein,

JUDGMENT is hereby entered remanding this case to the State Court of Bibb County, Georgia.

       This 4th day of February, 2019.

                                         David W. Bunt, Clerk


                                         s/ Vanessa Siaca, Deputy Clerk
